889 F.2d 1084Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank Ervin ALTIZER, Jr., Plaintiff-Appellant,v.C.D. LARSEN, Defendant-Appellee.
    No. 89-7665.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 29, 1989.Decided Nov. 3, 1989.
    
      Frank Ervin Altizer, Jr., appellant pro se.
      Richard Francis Gorman, III, Office of the Attorney General of Virginia, for appellee.
      Before HARRISON L. WINTER, PHILLIPS, and K.K. HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Frank Ervin Altizer, Jr., appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Altizer v. Larsen, C/A No. 89-23-R (W.D.Va. June 16, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    